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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

CENTRAL DIVISION
DEMARCUS WILLIAMSON ) JURY TRIAL DEMANDED
Plaintiff, )
)
v. ) Case No. 4:24-cv-00024-SHL-
WPK
TRUEACCORD CoORP., RECEn Ac
Defendant. ) Ota d WY D
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NOTICE OF SETTLEMENT

Plaintiff DeMarcus Williamson, pursuant to Rule 41(a)(1)(A)(ii), has reached a
settlement agreement and need approximately thirty (30) days to fulfill the settlement terms
and file dismissal papers pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). The Parties consent to
a stay of pending deadlines herein. May the Court so enter an Order or direct the Parties to

formally move with respect thereto.

Dated: March 1, 2024 (\\ | Ll | cy A

DeMarcus Williamson

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